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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

     UNITED STATES OF AMERICA,                               Crim. No. 14-289(11) (SRN/JSM)

            Plaintiff,                                REPORT AND RECOMMENDATION

     v.

     JESUS SOTELO-VALDOVINOS,

            Defendant.

            The above matter came before the undersigned on Defendant’s Pre-Trial Motion

     to Sever Defendant [Docket No. 158].        Allen A. Slaughter, Esq. appeared on the

     Government’s behalf. Philip Leavenworth, Esq. appeared on defendant’s behalf. This

     Court issued an Order on Motions dated March 30, 2015, reserving defendant’s motion

     to sever to permit additional briefing. [Docket No. 211].

            This matter has been referred to the undersigned Magistrate Judge for a Report

     and Recommendation by the District Court pursuant to 28 U.S.C. §636(b)(1)(A), (B),

     and Local Rule 72.1(c).

I.          FACTUAL BACKGROUND

            The United States filed a superseding indictment against several defendants

     alleged to be involved in a narcotics conspiracy. Superseding Indictment [Docket No.

     15]. Defendant Jesus Sotelo-Valdovinos was indicted on one count of Conspiracy to

     Distribute Methamphetamine and Marijuana and one count of Distribution of

     Methamphetamine in September, 2014. Id., pp. 2-3, 10.

            Sotelo-Valdovinos moved for severance, requesting that he be tried separately

     from his co-defendants pursuant to Fed. R. Crim. P. 8 and 14. Defendant’s Pre-Trial

     Motion to Sever (“Def.’s Pre-Trial Mot.”), p. 2 [Docket No. 158].
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       Sotelo-Valdovinos claims to be an “expert” spiritual leader in the Santa Muerte

religion. Id. He is an hechiero or shaman. Id., pp. 2–3. Practitioners of the Santa

Muerte religion worship and request favors of Santa Muerte, a female skeleton icon

representing the Saint of Death. Id. When requesting Santa Muerte’s aid, adherents

light colored candles as offerings. Id. The use of tarot cards, candles, potions, and

prayers are central to their practice. Id.

       Sotelo-Valdovinos alleged that he reads tarot cards and recommends suitable

potions and prayers to those seeking Santa Muerte’s aid and has conducted such

activites at his place of business. Id., pp. 3–4. According to Sotelo-Valdovinos, if his

trial is not severed, prejudice will arise from the factfinder’s lack of appreciation and

understanding of his role in the Santa Muerte religion. Id. Similarly, Sotelo-Valdovinos

asserted that his “guilt or innocence may well depend on the factfinder having full

appreciation of the cultural function [the defendant] performs within the Santa Muerte

folk religion.” Id., p. 4. Sotelo-Valdovinos reasoned that without a full understanding of

his role in Santa Muerte, the jury may construe phrases that are spiritual in nature as

conspiratorial phrases, (id.), and that “the prospects for confusion of evidence are high.”

Defendant’s Supplemental Memorandum in Support of Motion to Sever (“Def.’s Suppl.

Mem.”), p. 2 [Docket No. 207]. Further, Sotelo-Valdovinos believes that the jury’s ability

to understand the nuances of his role in the alleged conspiracy will be clouded by

distracting “piles of meth and cash” that were seized from co-defendants. Id.; Def.’s

Pretrial Mot., p. 4. The foregoing, he argued, creates a difference in circumstances that

warrants a separate trial.     Id.   Sotelo-Valdovinos also raised a First Amendment

argument, stating that there may be confusion about whether his conversations



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  implicate the First Amendment. 1 Def.’ Pretrial Mot., pp. 3-4; Def’s Suppl. Mem., pp. 1-2.

         The Government opposed the motion on the grounds that Sotelo-Valdovinos will

  not be prejudiced and the need for a joint trial outweighs any potential prejudice

  suggested by Sotelo-Valdovinos.        See Government’s Consolidated Response to

  Defense Discovery Motions (“Gov’t Consol. Resp.”), pp. 16, 19 [Docket No. 193]; Gov’t

  Suppl. Response, pp. 6–7.       The Government submitted that evidence of a drug

  conspiracy is germane to multiple defendants, including Sotelo-Valdovinos. Id., pp. 6–

  7.   The Government further argued that Sotelo-Valdovinos’s relationship to the co-

  defendants was not that of a Santa Muerte spiritual counselor, but purely that of a drug

  trafficking co-conspirator who had frequent communications with co-defendants about

  the location and movement of narcotics. Id., pp. 3–5, 6; Gov’t Consol. Mot., pp. 15–16.

II.    LEGAL STANDARD

         The trial of two or more defendants may be joined “if [the indicted defendants]

  are alleged to have participated in the same act or transaction . . . constituting an

  offense or offenses.” Fed. R. Crim. Pro. 8(b). Joinder under Rule 8(b) is proper even

  when all defendants are not charged in each count. Id. “There is a preference in the

  federal system for joint trials of defendants who are indicted together.” Zafiro v. United

  States, 506 U.S. 534, 537 (1993); see also United States v. Delpit, 94 F.3d 1134, 1143

  (8th Cir. 1996) (“The presumption against severing properly joined cases is strong.”);

  United States v. McArthur, No. 12-26 (JRT/JSM), 2013 WL 101925, at *3 (D. Minn. Jan.

  8, 2013) (“There is a preference for joint trials . . . .”). This preference is especially

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         The Government contended that any First Amendment claims were irrelevant.
  Government’s Supplemental Response to Motion to Sever (“Gov’t Suppl. Response”),
  p. 2 [Docket No. 208]. Relevant or irrelevant, Sotelo-Valdovinos’s argument is so poorly
  developed that it played no part in the Court’s recommendation.
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strong in cases where “proof of conspiracy overlaps” between indicted co-conspirators.

United States v. Williams, 97 F.3d 240, 243 (8th Cir. 1996); see also United States v.

Kindle, 925 F.2d 272, 277 (8th Cir. 1991) (“We have consistently held that persons

charged with conspiracy should generally be tried together.”)

       Rule 8(b) joinder plays a “vital role” in achieving efficiency and avoiding the

“inequity of inconsistent verdicts.” Zafiro, 506 U.S. at 537 (citing Richardson v. Marsh,

481 U.S. 200, 209, 210 (1987)); United States v. Pherigo, 327 F.3d 690, 693 (8th Cir.

2003) (“[A] joint trial gives the jury the best perspective on all evidence and, therefore,

increases the likelihood of a correct outcome.”) (internal citations omitted).

       A district court has discretion to sever a trial where “a defendant shows that he is

prejudiced” by a joint trial. United States v. Patterson, 140 F.3d 767, 774 (8th Cir.

1998); see also Fed. R. Crim. P. 14. However, it is “the rare case, if ever, where a

district court should sever the trial of alleged co-conspirators.” United States v. Frazier,

280 F.3d 835, 844 (8th Cir. 2002); see also United States v. Mueller, 661 F.3d 338, 347

(8th Cir. 2011) (“Generally, persons charged in a conspiracy should be tried together,

especially when proof of the charges against the defendants is based upon the same

evidence and acts” (quoting United States v. Arenal, 768 F.2d 263, 267–68 (8th Cir.

1985)). The prejudice “must be severe or compelling” for the district court to grant a

motion to sever. Pherigo, 327 F.3d at 693 (citing United States v. Warfield, 97 F.3d

1014, 1018 (8th Cir. 1996)). Prejudice is sufficiently severe in cases where “the jury will

be unable of compartmentalize the evidence as it relates to separate defendants.”

United States v. Frank, 354 F.3d 910, 920 (8th Cir. 2004). Further, the court must

balance “the inconvenience and expense of separate trials against the prejudice



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   resulting from a joint trial.” Pherigo, 327 F.3d at 693.

          Should the district court elect not to exercise its discretion to sever a trial, the

   court can allay potential prejudice with “less drastic measures.” Zafiro, 506 U.S. at 534.

   For example, the court may give the jury limiting instructions on how to weigh or

   consider certain evidence. Id.; United States v. Young, 753 F.3d 757, 779 (8th Cir.

   2014) (“[W]e have noted that proper limiting instructions can alleviate or minimize any

   potential harm that co-defendants contract from evidence that reflects poorly on them.”)

   (citations omitted).

III.   DECISION

          Applying these standards, the Court recommends denying Sotelo-Valdovinos’s

   motion to sever. The superseding indictment in this case clearly shows that the co-

   defendants “are alleged to have participated in the same act or transaction or in the

   same act or series of transactions constituting an offense or offenses.” Fed. R. Crim.

   Pro. 8(b). Further, the Court concludes that the instant case is not one of the “rare

   case[s]” in which a severed trial is appropriate. See Frazier, 280 F.3d at 844.

          A party requesting severance under Rule 14 must make “a specific showing that

   a jury could not reasonably be expected to compartmentalize the evidence.” United

   States v. Hively, 437 F.3d 752, 765 (8th Cir. 2006) (citing United States v. Mickelson,

   378 F.3d 810, 817 (8th Cir. 2004); United States v. Lueth, 807 F.2d 719, 731 (8th Cir.

   1986)).    Sotelo-Valdovinos argued that he would be prejudiced by the jury’s

   misunderstanding of his Santa Muerte religion and nuanced spiritual phrases will be

   confused with conspiratorial phrases.        However, the Government’s argument that

   Sotelo-Valdovinos is asserting a “speculative possibility” and not “potential real



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prejudice” is persuasive.     See Gov’t Consol. Resp., p. 14.          To be sure, Sotelo-

Valdovinos makes a bare assertion that he will be prejudiced based on his role in the

Santa Muerte religion. However, he did not make a specific showing that a jury would

be incapable of properly weighing and considering evidence in light of his religious

practices.

       As for Sotelo-Valdovinos’s concern that “piles of meth and cash” seized from

other defendants to indict on other counts will be a “huge distraction” that will anger the

jury and result in unfair prejudice, (Def.’s Pre-Trial Mot., p. 4), Rule 8(b) joinder does not

require that all defendants be charged in each count. See Fed. R. Crim. P. 8(b). In

United States v. McArthur, the superseding of indictment of multiple co-defendants

contained a charge of murder—a charge that could incite a jury. However, the court

held that the co-conspirators not involved in the murder were not improperly joined so

as to be prejudiced. 2013 WL 101925, at *3. Rather, the court found that “justice is

best served by trying the members of [the enterprise] together because a joint trial gives

the jury the best perspective on all of the evidence and therefore increases the

likelihood of a correct outcome.” Id. (citing United States v. Darden, 70 F.3d 1507,

1527–28 (8th Cir. 1995)). As in McArthur, the interests of justice will be served by

allowing the jury to hear all of the evidence in its full context. The alleged conspiracy

operated with the common goal of trafficking methamphetamine and marijuana. The

interdependent role of every defendant in achieving this goal is vital for the jury to hear.

       Additionally, the inconvenience and expense of separate trials outweighs any

hypothetical prejudice to Sotelo-Valdovinos. See Pherigo, 327 F.3d at 693. The facts

and evidence surrounding Sotelo-Valdovinos’s role in the alleged conspiracy overlap



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substantially with the activities of other co-defendants. Gov’t Consol. Resp., p. 15–16;

Gov’t Suppl. Resp. pp. 3–4.         Separate trials would be inefficient—requiring the

prosecutor to present evidence “again and again”—and would also create the potential

for inconsistent results. Cf. Richardson v. Marsh, 481 U.S. 200, 210 (1987) (stating

that, in general, the efficient one-time presentation of evidence and testimony of a joint

trial allows the factfinder to better evaluate the “relative culpability” of each defendant).

The risk of inconsistency and inefficiency is greater than the risk of prejudice arising

from Sotelo-Valdovinos’s communications as an hechiero.

       Lastly, even if prejudice had been shown, “Rule 14 does not require severance.”

Zafiro, 506 U.S. at 538 (emphasis added). Instead, “it leaves the tailoring of the relief to

be granted, if any, to the district court’s sound discretion.” Id. at 538–39. This Court

finds that “less drastic measures” can be employed to mitigate any potential prejudice to

Sotelo-Valdovinos. See, e.g., id. at 534. Sotelo-Valdovinos has not demonstrated that

limiting jury instructions, nor any other remedy aside from Rule 14 severance, would fail

to cure the potential misunderstandings arising from his role as a Santa Muerte

shaman.

       IV.    RECOMMENDATION

       Based on the foregoing, and all the files, records and proceedings herein,

       IT IS HEREBY RECOMMENDED that Defendant’s Motion to Sever Defendants

[Docket No. 158] be DENIED.

Dated: April 16, 2015                                    Janie S. Mayeron
                                                         JANIE S. MAYERON
                                                         United States Magistrate Judge




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                                         NOTICE

Under D. Minn. LR 72.2(b) any party may object to this Report and Recommendation by
filing with the Clerk of Court, and serving all parties by April 30, 2015, a writing that
specifically identifies those portions of this Report to which objections are made and the
basis of those objections. A party may respond to the objecting party's brief within 14
days after service thereof. All briefs filed under this Rule shall be limited to 3500 words.
A judge shall make a de novo determination of those portions to which objection is
made. This Report and Recommendation does not constitute an order or judgment of
the District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.




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